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 8                                UNITED STATES DISTRICT COURT
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            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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11   SOFIE KARASEK, individually;                  )   Case No.: 3:15-cv-03717-WHO
     NICOLLETTA COMMINS, individually;             )
12   ARYLE BUTLER, individually;                   )   [PROPOSED] JUDGMENT IN A
                                                   )
                    Plaintiffs,                    )   CIVIL CASE
13
                                                   )
14           vs.                                   )   Judge: Hon. William H. Orrick
                                                   )
15                                                 )
                                                   )
16   THE REGENTS OF THE UNIVERSITY                 )
     OF CALIFORNIA, a public entity, and           )
17   DOES 1 through 100, inclusive,                )
                                                   )
18                   Defendants.                   )
                                                   )
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21          Pursuant to the Court's Order Granting Defendant's Motion to Dismiss Aryle Butler’s
22
     Fifth Amended Complaint, judgment is entered accordingly.
23

24   Dated: July 5, 2022
                                                ___________________________
25
                                                William H. Orrick
26
27                                              United States District Judge

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                                               1
                                      [PROPOSED] JUDGMENT
     Case 3:15-cv-03717-WHO Document 195 Filed 07/05/22 Page 2 of 2



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11    IT IS SO ORDERED.
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13    Dated: ________________            ___________________________
                                         Hon. William H. Orrick
14                                       Judge of the United States District Court
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                            [PROPOSED] JUDGMENT
